        Case 2:24-bk-53688             Doc 40 Filed 04/30/25 Entered 05/01/25 00:08:37   Desc
                                     Imaged Certificate of Notice Page 1 of 3
Form a0nclose
(Rev. 10/13)

                                        United States Bankruptcy Court
                                           Southern District of Ohio
                                             170 North High Street
                                          Columbus, OH 43215−2414


In Re: Ryan Firestone                                    Case No.: 2:24−bk−53688
       Sara Firestone
              Debtor(s)                                  Chapter: 13
SSN/TAX ID:
       xxx−xx−5122                                       Judge: John E. Hoffman Jr.
       xxx−xx−2500



                                  Notice to Trustee Regarding Status of Case

The above captioned case cannot be discharged and/or closed due to the following:


    No indication of the 341 Meeting Held

    Report of No Distribution or Final Report Needed

    Final Account (and Closing Certification, if applicable) Needed

    Other:



Dated: April 28, 2025

                                                         FOR THE COURT:
                                                         Richard B. Jones
                                                         Clerk, U.S. Bankruptcy Court
             Case 2:24-bk-53688                    Doc 40 Filed 04/30/25 Entered 05/01/25 00:08:37                                                Desc
                                                 Imaged Certificate of Notice Page 2 of 3
                                                                United States Bankruptcy Court
                                                                  Southern District of Ohio
In re:                                                                                                                   Case No. 24-53688-jeh
Ryan Firestone                                                                                                           Chapter 13
Sara Firestone
       Debtors
                                                      CERTIFICATE OF NOTICE
District/off: 0648-2                                                    User: ad                                                                    Page 1 of 2
Date Rcvd: Apr 28, 2025                                                 Form ID: a0nclose                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 30, 2025:
Recip ID                  Recipient Name and Address
db/jdb                  + Ryan Firestone, Sara Firestone, 10003 Viburnum Dr., Plain City, OH 43064-7550

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 30, 2025                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 28, 2025 at the address(es) listed below:
Name                                Email Address
Adam Bradley Hall
                                    on behalf of Creditor MidFirst Bank amps@manleydeas.com

Asst US Trustee (Col)
                                    ustpregion09.cb.ecf@usdoj.gov

Brian M Gianangeli
                                    on behalf of Creditor Ohio Department of Taxation bgianangeli@mifsudlaw.com

Faye D. English
                                    notices@ch13columbus.com

Laura M. Nesbitt
                                    on behalf of Debtor Ryan Firestone lnesbitt@taxworkoutgroup.com
                                    Nesbitt.LauraM.B138813@notify.bestcase.com;eduwel@twg.law;aholmes@twg.law;lnesbitt@ecf.courtdrive.com

Laura M. Nesbitt
            Case 2:24-bk-53688         Doc 40 Filed 04/30/25 Entered 05/01/25 00:08:37                                   Desc
                                     Imaged Certificate of Notice Page 3 of 3
District/off: 0648-2                                     User: ad                                                           Page 2 of 2
Date Rcvd: Apr 28, 2025                                  Form ID: a0nclose                                                 Total Noticed: 1
                          on behalf of Joint Debtor Sara Firestone lnesbitt@taxworkoutgroup.com
                          Nesbitt.LauraM.B138813@notify.bestcase.com;eduwel@twg.law;aholmes@twg.law;lnesbitt@ecf.courtdrive.com

Michelle Polly-Murphy
                          on behalf of Creditor The Woodbine Homeowners Association Inc. mpollymurphy@kamancus.com,
                          bankruptcy3@kamancus.com


TOTAL: 7
